
Nott, J.
The act of 1808,2 Faust, 214. authori-ses the assignee or assignees of a bond, note or bill/* not payable to “order, or not .negotiable,” to bring an action for the recovery of the same in his, her or their own name or names. It embraces, according to my construction of it, every instrument of writing of the description mentioned, which was not negotiable before. By what mode of reasoning it can be construed to relate only to bonds, notes, and bills payable to a person and his assigns, I cannot conceive. I am of opinion that the action was well brought, and that the non-suit ought to be set aside. If we take the letter of the law, it relates to all non-nego-*753liable bonds, bills, or notes. If we take the spirit ,. of it, it must be extended to them ; for the object of the law was to give currency to paper not before transferable. So that which ever way we take it, We arrive at the same conclusion.
Justices Grimkb, Smith, Bay and Colcock, con-eurredi
